                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

ROBERT G. DREWS,

             Plaintiff,
      v.                                             Case No. 13-10421

AMERICAN AIRLINES, INC.,                             HON. TERRENCE G. BERG

             Defendant.
                                           /


ORDER DENYING DEFENDANT’S MOTION FOR SUMMARY JUDGMENT
        (DKT. 27) AND DEFENDANT’S MOTION TO STRIKE
     PLAINTIFF’S FIRST AMENDED WITNESS LIST (DKT. 33)

      This case involves a slip and fall on an airline jetway. Plaintiff Robert G.

Drews filed suit against Defendant American Airlines, Inc. on February 1, 2013

alleging that Defendant was negligent in failing to warn Plaintiff as he was

boarding a flight at Chicago O’Hare Airport in Chicago, Illinois that the jet bridge

was slippery with deicing solution spilled by Defendant’s employees. (Dkt. 1, p. 2.)

Plaintiff claims that he sustained severe injuries as a direct and proximate result of

Defendant’s negligence when Plaintiff slipped and fell on the jet bridge. (Id.)

Defendant has moved for summary judgment on Plaintiff’s claim. (Dkt. 27.) The

motion was fully briefed and oral argument was heard on July 16, 2014.

      Defendant has also moved to strike Plaintiff’s July 20, 2014 First Amended

Witness List (Dkt. 33) in its entirety because Plaintiff added two witnesses, Drs.

Robert Carson and Steven Anderson, after the close of discovery. (Id. at 7, 11.) As a

result, Defendant has not had an opportunity to depose the new witnesses or
conduct other discovery. Plaintiff offers the explanation that he added these new

witnesses because Plaintiff’s treating physician suffered a debilitating stroke,

leaving him unable to be deposed or to testify at trial. (Dkt. 33, p. 3.) Without a

treating physician to testify regarding Plaintiff’s wrist injury and treatment,

Plaintiff would be significantly prejudiced.

       After careful review and consideration of the pleadings, supporting briefs

and oral arguments, the Court finds that there are disputed issues of material fact

regarding Plaintiff’s premises liability claim. With respect to Defendant’s motion to

strike Plaintiff’s entire amended witness list, the Court will deny the motion but

extend the discovery period for 45 days from the date of this Order as to Drs. Carson

and Anderson only for the limited purpose of taking their depositions and

requesting any relevant medical records. Therefore, Defendant’s Motion for

Summary Judgment (Dkt. 27) and its Motion to Strike Plaintiff’s Late First

Amended Witness List (Dkt. 32) will both be DENIED.


                           I.   FACTUAL BACKGROUND


      As a preliminary matter, the Court notes that Plaintiff did not follow the type

size requirement specified in local rule 5.1(a)(3) (no type size smaller than 14 point)

or the Court’s practice guidelines for a response to a motion for summary judgment

that are available on the Court’s website. These practice guidelines provide as

follows:

      A Rule 56 motion must begin with a “Statement of Material Facts.” Such a
      Statement is to be included as the first section of the Rule 56 Motion. The
      Statement must consist of separately numbered paragraphs briefly

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       describing the material facts underlying the motion, sufficient to support
       judgment. Proffered facts must be supported with citations to the
       pleadings, interrogatories, admissions, depositions, affidavits, or
       documentary exhibits. Citations should contain page and line references,
       as appropriate.... The Statement of Material Facts counts against the
       page limit for the brief. No separate narrative facts section shall be
       permitted.

       The response to a Rule 56 Motion must begin with a “Counter-statement
       of Material Facts” stating which facts are admitted and which are
       contested. The paragraph numbering must correspond to moving party’s
       Statement of Material Facts. If any of the moving party’s proffered facts
       are contested, the non-moving party must explain the basis for the factual
       disagreement, referencing and citing record evidence. Any proffered fact
       in the movant’s Statement of Material Facts that is not specifically
       contested will, for the purpose of the motion, be deemed admitted. In
       similar form, the counter-statement may also include additional facts,
       disputed or undisputed, that require a denial of the motion.1

Plaintiff’s response included a separate narrative fact section in violation of the

Court’s practice guidelines. While Defendants’ “Statement of Facts” was organized

in separately numbered paragraphs, Plaintiff’s response omitted the “Counter-

statement.” Without a statement and counter-statement, the parties fail to identify

clearly which material facts are subject to dispute.2 The Court nonetheless

conducted a thorough review of parties’ briefs, oral arguments, and exhibits and

gleaned the following facts, which are viewed in a light most favorable to Plaintiff

as the non-moving party.

A. Defendant’s Motion for Summary Judgment

       On January 27, 2012, Plaintiff Robert G. Drews and his wife Roberta Drews

were returning from Hawaii to Michigan on an American Airlines flight with a

1Available at -- http://www.mied.uscourts.gov/Judges/guidelines/topic.cfm?topic_id=459
2See, e.g., Akines v. Shelby Cnty. Gov’t, 512 F. Supp. 2d 1138, 1147 (W.D. Tenn. 2007) (deeming the
Defendant’s statement of undisputed material facts as having been admitted by the Plaintiffs, where
the Plaintiffs failed to file a counter-statement of material facts, as directed by local rule).

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connection in Chicago. (Dkt. 27, Ex. 1, pp. 45-49.) Both passengers and some airline

employees indicated that, on the jetway leading to the aircraft of the connecting

flight from Chicago O’Hare International Airport in Chicago, Illinois, to Bishop

International Airport in Flint, Michigan, there was some kind of a clear liquid

present on the floor during the boarding process. (Dkt. 27, Ex. 11, pp. 32:3-33:14,

39-41; Dkt. 27, Ex. 22.)

      The captain of that flight, Michael Melchior, testified that the liquid on the

jetway floor was deicer fluid, and was located in the area near the entrance of the

aircraft, between the service door and the jetway extender. (Id. at pp. 31:12-33:14.)

Captain Melchoir thought that the deicer fluid had been tracked onto the jetway,

but he did not know by whom. (Id. at pp. 33:22-34:11.) Captain Melchior noted in

his incident report that the “plastic ramp where the jet bridge retracts into itself

[was] slick due to deice fluid tracked from the ramp.” (Dkt. 27, Ex. 22.)

      During the boarding process, Captain Melchoir walked up the jetway to use

the restroom in the terminal and then back down the jetway to the airplane. (Id.)

Prior to boarding, First Officer Yann Wuchterl completed a pre-flight check of the

exterior of the aircraft that required him to walk from inside the plane out onto the

jetway and then through the service door. (Dkt. 27, Ex. 20, p. 78:5-25.) After

approximately ten minutes, First Officer Wuchterl returned to the plane’s flight

deck through the service door and the jetway as passengers were boarding. (Id. at

27:12-28:24.) Neither had difficulty walking on the jetway (Dkt. 27, Ex. 11, p. 68:4-

15; Dkt. 27, Ex. 20, pp. 78:20-79:1), but Captain Melchoir noticed fluid by the



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service door upon his return to the plane (Dkt. 27, Ex. 11, pp. 67:12-68:12). A

passenger informed Captain Melchoir as he returned to the plane that “people were

slipping and falling in the jet bridge” (Dkt. 27, Ex. 22).

      A passenger also told flight attendant Donna Valdez, who was standing just

inside the aircraft entrance while passengers were boarding, that passengers were

falling in the jetway. (Dkt. 27, Ex. 19, pp 14:7-15:5, 20:19-21.) Although Valdez

could see the short segment of the jetway that met the door of the airplane, she

herself did not see anyone fall in that area. (Id. at 16:4-12, 20:19-21, 29:1-30:4.)

According to Valdez, approximately 12 to 15 people had boarded when she first

learned that passengers were slipping. (Id. at 20:12-16.) Valdez then shared that

information with Captain Melchoir. (Id. at pp. 14-15.) In addition, First Officer

Wuchterl was making “repeated calls” from the flight deck to “[Operations] of the

slippery situation.” (Dkt. 27, Ex. 22; Ex. 21, 41:4-43:16.) While Captain Melchoir

was notifying a baggage handler of the problem, yet another passenger slipped. (Id.)

As a result, Captain Melchoir advised the gate agent to discontinue boarding until

the jetway was cleaned. (Id.)

      Seven passengers total “made mention of slipping” including Plaintiff. (Id.) At

some point while boarding, Plaintiff slipped in an area he described as “about

midway in the jetway.” (Dkt. 28, Ex. V at 76:16-23.) Plaintiff’s wife was somewhere

behind him on the jetway and he could see the door of the airplane. (Id. at 57:22-

59:21.) During his deposition, Plaintiff testified that he fell “instantaneously” on one

of the connector ramps of the jetway floor where the surface is sloped and uneven.



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(Id. at 77:8-79:12.) According to Passenger Service Supervisor Calvin Lewis, this

floor segment is a section of the jetway that expands and retracts. (Dkt. 27, Ex. 16,

pp. 74-76.) Plaintiff only recalls “putting [his] left foot forward, it slipping out from

underneath [him], and [he] was down.” (Dkt. 28, Ex. V at 79:23-24.)

      After Plaintiff’s slip, Plaintiff’s wife and an unidentified passenger helped

him up. (Dkt. 28, Ex. V at 82:6-25.) According to Plaintiff’s wife, that unidentified

passenger told them that the jetway floor was very slippery, and other passengers

had fallen. (Dkt. 27, Ex. 21 at 10:8-12:5.) Plaintiff “complained of a sore knee and

forearm” but initially refused medical attention. (Dkt. 27, Ex. 22.) Plaintiff testified

that once he and his wife arrived in Flint, a member of the flight crew approached

Plaintiff and said “Sir, I’m sorry, this should have never happened. One of the

ground crew tracked deicer up into the jetway.” (Dkt. 28, Ex. V at 88:16-24.) As a

result of this slip, Plaintiff claims he permanently injured his right wrist and right

hip. (Dkt. 1, ¶¶ 11-12.)

B. Defendant’s Motion to Strike Plaintiff’s Amended Witness List

      On February 24, 2012, Dr. Jeffrey Gorosh, assisted by Dr. Robert Carson

treated a torn ligament in Plaintiff’s right wrist by removing tissue from the

scapholunate ligament and synovial joint, and administering a corticosteroid

injection. (Dkt. 34, Ex. C.) Dr. Steven Anderson assisted Dr. Gorosh on March 30,

2012, with the performance of a SLAC reconstruction or four-corner fusion of

Plaintiff’s right wrist to treat the ligament injury. (Dkt. 34, Ex. D.) Subsequent




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follow-up evaluations revealed that Plaintiff had developed acute carpal tunnel

syndrome. (Dkt. 33, Ex. 3, p. 6.)

       At some point after Dr. Gorosh treated Plaintiff, he suffered a debilitating

stroke that prevents him from being deposed or from testifying at trial.3 Defense

counsel became aware of this unfortunate event early in the discovery period (Dkt.

33, p. 3), but Plaintiff’s counsel did not learn of it until “on or about May 2014” (Dkt.

34, p. 2). Discovery in this matter ended on June 6, 2014. (February 13, 2014 text-

only order.) Plaintiff requested a discovery extension on May 27, 2014 but

Defendant did not agree. (Dkt. 33, p. 4.) On July 10, 2014, Plaintiff filed his First

Amended Witness List naming Drs. Carson and Anderson as witnesses in lieu of Dr.

Gorosh. (Dkt. 32.) On July 23, 2014, Defendant moved to strike Plaintiff’s amended

witness list in its entirety as untimely and prejudicial. (Dkt. 33, pp. 7, 11.)

                                  II.   LEGAL STANDARD

       Summary judgment is proper “if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter

of law.” See Fed. R. Civ. P. 56(a). A fact is material only if it might affect the

outcome of the case under the governing law. See Anderson v. Liberty Lobby, Inc.,

477 U.S. 242, 249 (1986). On a motion for summary judgment, the Court must view

the evidence, and any reasonable inferences drawn from the evidence, in the light

most favorable to the nonmoving party. See Matsushita Elec. Indus. Co. v. Zenith



3Although the record does not disclose the date on which Dr. Gorosh suffered his stroke, it
presumably occurred at some point after August 14, 2012, the date of his most recent report to
Plaintiff’s counsel detailing Plaintiff’s recovery. (Dkt. 33, Ex. 3, p. 6.)

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Radio Corp., 475 U.S. 574, 587 (1986); Redding v. St. Edward, 241 F.3d 530, 531

(6th Cir. 2001).

      The moving party has the initial burden of demonstrating an absence of a

genuine issue of material fact. See Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986).

If the moving party carries this burden, the party opposing the motion “must come

forward with specific facts showing that there is a genuine issue for trial.”

Matsushita, 475 U.S. at 587. The Court must determine whether the evidence

presents a sufficient factual disagreement to require submission of the challenged

claims to a jury or whether the moving party must prevail as a matter of law. See

Anderson, 477 U.S. at 252 (“The mere existence of a scintilla of evidence in support

of the plaintiff’s position will be insufficient; there must be evidence on which the

jury could reasonably find for the plaintiff.”).

      Moreover, the trial court is not required to “search the entire record to

establish that it is bereft of a genuine issue of material fact.” Street v. J.C. Bradford

& Co., 886 F.2d 1472, 1479–80 (6th Cir. 1989). Rather, the “nonmoving party has an

affirmative duty to direct the court’s attention to those specific portions of the

record upon which it seeks to rely to create a genuine issue of material fact.” In re

Morris, 260 F.3d 654, 655 (6th Cir. 2001).

                                   III.   ANALYSIS

A. Defendant’s Motion for Summary Judgment

      Defendant has moved for summary judgment on Plaintiff’s premises liability

claim (Dkt. 27). Under Michigan law, which governs this diversity action, a Plaintiff



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asserting a premises liability claim must prove four elements: (1) that defendant

owed a duty to Plaintiff, (2) that Defendant breached that duty, (3) that Plaintiff

suffered damages, and (4) that the breach was the cause of the damages suffered.

Demo v. Red Roof Inns, Inc., 274 F. App’x 477, 478 (6th Cir. 2008) (quoting Schultz

v. Consumers Power Co., 506 N.W.2d 175, 177 (Mich. 1993)).

      Here, Defendant challenges Plaintiff’s claim on three of the four premises

liability elements: duty, breach, and causation. First, regarding duty, Defendant

concedes that there was fluid identified as deicer on the jetway at the time Plaintiff

slipped (Dkt. 27, ¶¶ 19-22), but argues that Plaintiff can only speculate as to why he

slipped because he has not offered any evidence showing fluid was found at the

specific location on the jetway where he claims he fell (Id. at 12). Defendant asserts

instead that Plaintiff slipped on a sloped connector ramp: an open and obvious

danger from which it had no duty to protect Plaintiff. (Id. at 21.) Second, as to

breach, even if Defendant owed a duty to Plaintiff, Defendant maintains that it did

not breach that duty because there is no evidence that it created the hazardous

condition of fluid on the jetway or had actual or constructive knowledge of it. (Id. at

16.) Third, concerning causation, even if Defendant breached a duty owed to

Plaintiff, there is no evidence that its breach caused Plaintiff’s injuries. (Id. at 16-

20.) Because the available evidence gives rise to questions of material fact

pertaining to each of Defendant’s assertions, summary judgment will be denied.




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           a. Duty

       Under Michigan law, the party responsible for premises “owes a duty to an

invitee to exercise reasonable care to protect the invitee from an unreasonable risk

of harm caused by a dangerous condition.” Lugo v. Ameritech Corp., 629 N.W.2d

384, 386 (Mich. 2001). An invitor, however, need not guarantee its invitee’s absolute

safety. See Riddle v. McLouth Steel Prods. Corp., 485, N.W.2d 676, 679 (Mich.

1992). Indeed, an invitor owes no duty to protect or warn an invitee of a dangerous

condition that is open and obvious unless there are special aspects to that condition

that “make even an open and obvious risk unreasonably dangerous.” Lugo, 629

N.W.2d at 386.

       Defendant analogizes the instant case to Njoku v. Northwest where the Court

found that the steel plate on which the Plaintiff slipped while exiting a plane at

Detroit Metropolitan Airport was open and obvious and therefore the Defendant

owed no duty of care.4 806 F. Supp. 2d 1022, 1029 (E.D. Mich. 2011). Defendant

claims that because Plaintiff cannot prove that the deicer fluid in the jetway was

located exactly where Plaintiff claims he slipped, Plaintiff must have slipped on the

sloping connector ramp instead. (Dkt. 27, p. 21.) Defendant claims it owed no duty

of care to Plaintiff because the grade of the connector ramp, like the steel plate in

Njoku, “was open and obvious to an ordinary observer upon casual inspection.” (Dkt.

27, p. 21.)


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 The facts in Njoku are quite different from this case. In Njoku, only the Plaintiff fell and was
injured on the jetway and no one claimed to have noticed a foreign substance in the vicinity. 806
F.Supp.2d at 1024. Here, Defendant admits that other passengers slipped or fell on the jetway where
at least one of its employees noticed fluid. (Transcript 3:22-4:5, 22:23- 23:23.)

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       A trier of fact could still find Defendant liable even if the jetway’s slippery or

uneven condition is open and obvious. A reasonable juror could infer, for example,

that the jetway’s slippery surface is not an open and obvious danger because such a

circumstance is not an everyday occurrence. In the Lugo case, cited by Defendant,

the Michigan Supreme Court held that a pothole in the middle of a parking lot was

an open and obvious dangerous condition because such potholes are an “everyday

occurrence.” 369 N.W.2d at 389. Unlike potholes, the Sixth Circuit held in Matteson

v. Northwest Airlines, Inc., an unpublished opinion cited by Plaintiff, that “a clear

spill on an airport floor is not” open and obvious because it is not “‘the type of

everyday occurrence that people regularly encounter.”5 495 F. App’x 689, 693 (6th

Cir. 2012).

       Even if a reasonable juror finds that the jetway’s slippery or uneven surface

is open and obvious, such a juror can still infer that special aspects of the condition

create an unreasonable risk of harm. See Lugo, 629 N.W.2d at 387–88. In Lugo, the

Michigan Supreme Court noted that a commercial building with standing water on

the floor and only one exit for the general public would be a circumstance where

liability could still be imposed because the open and obvious condition would be

“effectively unavoidable” given that “a customer wishing to exit the store must leave

the store through the water.” Id. at 387. Similarly, a reasonable juror could find

that, like the standing water in the Lugo Court’s example, deicer fluid or the


5In Matteson, a Northwest Airlines passenger slipped and fell on a clear, thick fluid on tile flooring
at the Detroit Metropolitan Airport, breaking her right hip and injuring her right rotator cuff. 495 F.
App’x at 689. Like Plaintiff, Matteson stated that she was “just walking looking ahead” but “then all
of a sudden [she was] down.” Id.

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uneven surface of the jetway were effectively unavoidable because passengers were

required to walk up the jetway to board the plane.

          b. Breach

      To establish breach of duty in a Michigan premises liability case, a Plaintiff

must show that the Defendant: (1) created the dangerous condition; (2) knew of the

dangerous condition; or (3) should have known of the dangerous condition. See

Berryman v. K-Mart Corp., 483 N.W.2d 642, 645 (1992); see also Pritchard v.

Northwest Airlines, Inc., 111 F. App’x 406 (6th Cir. 2004) (“[A] property owner is

liable for an unsafe condition only if the owner or his agent caused the condition or

knew or should have known of the condition.”).

      Defendant relies on Pritchard, arguing that Plaintiff has not provided enough

evidence for a reasonable juror to infer that Defendant caused the dangerous

condition on the jetway or knew or should have known about the condition. (Dkt. 27,

pp. 16-17.) In Pritchard, the Plaintiff slipped on snow that was blown into the

jetway through a gap between the jetway and the airplane. 111 F. App’x at 407-08.

The Court found that the Plaintiff failed to present sufficient evidence to permit a

reasonable inference that the Defendant created the dangerous condition or had

notice of it because: (1) there is always a gap between the jetway and the plane

therefore snowy weather created the dangerous condition; and (2) the snow had not

been in the jetway long enough to infer that the Defendant should have discovered

it. Id. at 409-10. Defendant argues that, as in Pritchard, Plaintiff cannot show that




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Defendant knew about or caused the dangerous condition; Plaintiff can only

speculate about how long the fluid was allegedly on the jetway. (Dkt. 27, p. 17.)

       Unlike in Pritchard, however, Plaintiff here offers sufficient evidence to

create a jury question as to whether Defendant’s employees created the dangerous

condition and whether Defendant had actual knowledge of it. First, Defendant’s

employee testified that service workers tracked deicer fluid into the jetway. Captain

Melchior stated in his incident report that the jetway was “slick due to deice fluid

tracked from the ramp.” (Dkt. 27, Ex. 22.) Second, both Plaintiff and his wife

testified that a man who appeared to be a crew member or pilot approached them

and explained that “[o]ne of the grounds crew tracked deicer up into the jetway.”

(Dkt. 28, Ex. V, p. 88; Dkt. 27, Ex. 21, p. 21.)

       There is also evidence that Defendant had actual knowledge of the dangerous

condition. Defendant concedes that its employees were notified by passengers that

several passengers had slipped in the jetway during boarding. (Dkt. 27, pp. 1-9, ¶¶

25, 26, 47-50.) In addition, Plaintiff’s wife testified that as she was approaching her

husband in the jetway, a male passenger said “be careful, that’s very slippery there,

multiple people have fallen.” (Dkt. 27, Ex. 21, pp. 10-11.) As a result of passengers

falling, boarding was eventually stopped so that the jetway could be cleaned. (Dkt.

27, Ex. 22.) When viewed in the light most favorable to Plaintiff, a reasonable jury

could infer that Plaintiff fell after Defendant’s employees had either seen or had

been notified of the dangerous condition on the jetway.




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          c. Causation

       Under Michigan law, a court may decide causation as a matter of law if a

Plaintiff presents insufficient evidence to support “a reasonable inference” of

causation. Demo, 274 F. App’x at 478 (quoting Weymers v. Khera, 563 N.W.2d 647,

648 (1997)). A Plaintiff cannot satisfy the burden of drawing “a reasonable inference

of causation” by merely speculating that the Defendant may have caused a

Plaintiff’s injuries. Id. Moreover, “[t]he mere occurrence of plaintiff’s fall is not

enough to raise an inference of negligence on the part of the defendant.” Stefan v.

White, 257 N.W.2d 206, 210 (Mich. Ct. App. 1977).

       Defendant relies primarily on Demo and Stefan for the proposition that

Plaintiff can only survive summary judgment if he proffers more than “mere

speculation or conjecture” about what caused his fall. (Dkt. 27, p. 12.) The Stefan

Plaintiff, who fell down a flight of stairs, explained during her deposition that she

“just went down” and “didn’t feel nothing” that could have caused the fall. Id. at

208. Although her husband filed an affidavit pointing to a metal strip at the top of

the stairs as a probable cause of the fall, the Court found the Plaintiff had not

offered enough evidence to raise a reasonable inference of causation. Id. at 210.

Similarly, in Demo, the Plaintiff testified that he “just took off falling” down a flight

of stairs. 274 F. App’x at 479. The Demo Court found that the Plaintiff’s speculative

deposition testimony about what caused his fall and an accident report the Plaintiff

filed citing wet and icy stairs were insufficient to establish a genuine causation

question. Id. at 478-79.



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      While Plaintiff in this case seems unsure of where precisely he fell and could

only testify to “putting [his] left foot forward, it slipping out from underneath [him],

and [he] was down,” Plaintiff has supplemented his account with sufficient

additional evidence to support a reasonable inference of causation. (Dkt. 27. Ex. 1,

p. 79.) Captain Melchior testified that there was a clear liquid, which he assumed

was deicer fluid, present on the jetway floor on the day of the incident. (Dkt. 27, Ex.

11, pp. 31, 39, 87.) Captain Melchior added that “people were slipping and falling in

the jet bridge” and described the slippery area as a “plastic ramp where the jet

bridge retracts into itself” that was “slick due to deice fluid tracked from the ramp.”

(Dkt. 27, Ex. 22.) Similarly, Lewis stated in his incident report that “five passengers

had fallen on the jetbridge while boarding.” (Dkt. 27, Ex. 23.) Unlike the report in

Demo or the affidavit in Stefan, these accounts did not originate from Plaintiff or his

spouse.

      Defendant responds to this evidence by again claiming that it does not show

that the liquid was located exactly where Plaintiff claims he slipped. (Dkt. 27, pp.

14-15.) Defendant points to Captain Melchior’s testimony indicating that the liquid

was located in the area right in front of the entrance of the airplane (Dkt. 28, Ex.

11, pp. 31-33), and compares it to Plaintiff’s testimony indicating that he fell “about

midway” through the jetway (Dkt. 27, Ex. 1, p. 76). (Dkt. 27, pp. 14-15.) In addition,

Defendant notes that Valdez testified that while she was standing in the entrance

of the airplane during boarding, she did not see anyone fall – although she was




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informed that at least one passenger had fallen (Dkt. 27, Ex. 19, pp. 34-35). (Dkt.

27, pp. 14-15.)

       Viewing the evidence in the light most favorable to Plaintiff, however, there

is support for a reasonable inference that the deicer fluid was located where

Plaintiff claims he fell in the jetway. First, there are similarities between the

description of the area slick with deicer fluid and the description of the area where

Plaintiff believes he fell. Captain Melchior testified that he saw a clear liquid, which

he assumed was deicer fluid, present on the jetway floor on the day of the incident.

(Dkt. 27, Ex. 22.) Captain Melchior described the slippery area as a “plastic ramp

where the jet bridge retracts into itself” that was “slick due to deice fluid tracked

from the ramp.” (Id.) Similarly, Plaintiff described the area where he slipped as a

connector ramp with “a little plastic section” where the surface is sloped and

uneven. (Dkt. 28, Ex. V, pp. 78:6-13.) Like Captain Melchoir, Lewis described this

same area as a section of the jetway that can expand and retract. (Dkt. 27, Ex. 16,

pp. 74-76.)

      Even if Plaintiff, Captain Melchoir, and Lewis were describing different

sections of the jetway, a reasonable juror could infer that the fluid Defendant

locates near the aircraft entrance (Dkt. 27, ¶¶ 20, 27) had been tracked to a point

farther down the jetway by the time Plaintiff boarded. First Officer Wuchterl stated

that prior to boarding he used the jetway to access the service door outside so that

he could complete his pre-flight check of the airplane’s exterior. (Dkt. 27, Ex. 20, pp.

15:20-16:11.) He returned after ten minutes to the flight deck inside the airplane



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through the service door and the jetway as passenger boarding was beginning. (Id.

at 28:20-24.) Meanwhile, Captain Melchoir walked down the jetway into the

terminal, through the area where he saw the deicing fluid, to use the restroom and

then returned to the plane by walking back up the jetway as boarding began. (Dkt.

27, Ex. 22.) Valdez stated that the first 12-15 passengers boarded without incident.

(Dkt. 27, Ex. 19, pp 20:12-16.) This testimony raises a factual question as to

whether fluid had been transferred from the service door area to the middle of the

ramp, where Plaintiff believes he fell.

      Furthermore, seven passengers claimed to have fallen in the jetway while

boarding. (Dkt. 27, Ex. 22.) If the fluid was only located where Defendant maintains

it was, the passengers were more likely to have fallen in that same area near the

airplane entrance. Valdez, however, standing in the airplane entrance with a view

of that final short portion of the jetway, testified that she did not see anyone fall

there. (Dkt. 27, Ex. 19, pp. 16:4-12, 20:19-21, 29:1-30:4.) A reasonable juror could

therefore infer that at least some of those seven passengers must have fallen

further back towards the terminal and that fluid was thus likely elsewhere on the

jetway outside of Valdez’s view.

      Plaintiff is therefore not merely speculating; he has provided additional

evidence relevant to causation from sources including Defendant’s own employees.

Because the Court must draw all reasonable inferences in favor of Plaintiff, the

factual disputes raised by the evidence concerning exactly where the fluid was




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located on the jetway, where precisely Plaintiff fell, and whether the fluid caused

his fall must be left for the jury to decide. Summary judgment is not appropriate.

B. Defendant’s Motion to Strike Plaintiff’s First Amended Witness List

       Defendant has also moved to strike Plaintiff’s First Amended Witness List

(Dkt. 33) as untimely and because Plaintiff’s failure to identify Drs. Carson and

Anderson prior to the close of discovery is prejudicial to Defendant. (Dkt. 33, pp. 7,

11.) Defendant claims that it has not had the opportunity to subpoena Dr. Carson or

Dr. Anderson’s records, to depose them, or otherwise conduct necessary discovery at

to these two new witnesses. (Id. at 8-9.) Plaintiff argues that there are no additional

medical records to subpoena because, as Dr. Gorosh’s assistants, Dr. Carson and Dr.

Anderson did not maintain independent records of Plaintiff’s treatment. (Dkt. 34, p.

11.)

       As Defendant notes, Plaintiff’s wrist injury is a key component of his claim.

(Id. at 8). Plaintiff’s treating physician for his wrist injury, Dr. Gorosh, was named

on Plaintiff’s first witness list (Dkt. 12) but subsequently suffered a debilitating

stroke that has left him unable to be deposed or to testify at trial. (Dkt. 33, p. 3.)

Plaintiff sought an extension of the discovery period but Defendant refused. (Id. at

4.) As a result, Plaintiff filed an amended witness list after the close of discovery

naming Drs. Carson and Anderson as witnesses in lieu of Dr. Gorosh. (Dkt. 32.) Drs.

Carson and Anderson, according to Plaintiff, have direct knowledge of Plaintiff’s

treatment because they assisted Dr. Gorosh and were present during Plaintiff’s

procedures. (Dkt. 34, p. 2.)



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      Defendant’s motion to strike Plaintiff’s First Amended Witness List is not

well taken. (Dkt. 33.) District courts have broad discretion under the rules of civil

procedure to manage the discovery process and control their dockets. Marie v. Am.

Red Cross, No. 13-4052, 2014 WL 5905003, at *17 (6th Cir. Nov. 14, 2014) (citing

Wolotsky v. Huhn, 960 F.2d 1331, 1338 (6th Cir. 1992)). Dr. Gorosh’s health is

beyond Plaintiff’s control. Without a treating physician to testify to his wrist

condition and treatment, Plaintiff is significantly prejudiced. It is equally true,

however, that Defendant has not had an opportunity to depose either Drs. Carson

or Anderson, or to seek discovery of their relevant medical records. In fairness to

both parties, the Court will therefore deny Defendant’s motion to strike but will re-

open discovery for 45 days from the date of this Order as to Drs. Carson and

Anderson for the limited purpose of allowing their depositions to be taken and

requesting any relevant medical records.

                                IV.    CONCLUSION

      For the reasons stated above, Defendant’s Motion for Summary Judgment

(Dkt. 27) is DENIED. Defendant’s Motion to Strike Plaintiff’s Late First Amended

Witness List (Dkt. 33) is also DENIED. It is ORDERED, however, that the

discovery period be extended for 45 days from the date of this Order as to Plaintiff’s

witnesses Dr. Robert Carson and Dr. Steven Anderson only.

     SO ORDERED.

                                                s/Terrence G. Berg
                                                TERRENCE G. BERG
                                                UNITED STATES DISTRICT JUDGE
Dated: December 18, 2014

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                              Certificate of Service

I hereby certify that this Order was electronically submitted on December 18, 2014,
using the CM/ECF system, which will send notification to each party.


                                               By: s/A. Chubb
                                                   Case Manager




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